831 F.2d 1057Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.James Woodrow MCNEIL, Plaintiff-Appellant,v.Edward W. MURRAY, William P. Rogers, Thomas R. Israel,Defendants-Appellees.
    No. 87-7600.
    United States Court of Appeals, Fourth Circuit.
    Submitted July 27, 1987.Decided Oct. 23, 1987.
    
      James Woodrow McNeil, appellant pro se.
      Robert Harkness Herring, Jr., Office of Attorney General, for appellees.
      Before SPROUSE, ERVIN and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      A review of the record and the magistrate's opinion discloses that this appeal from his order denying relief under 42 U.S.C. Sec. 1983 is without merit.  Because the dispositive issues recently have been decided authoritatively, we dispense with oral argument and affirm the judgment below on the reasoning of the magistrate.  McNeil v. Murray, C/A No. 87-24-H (W.D.Va., May 5, 1987).
    
    
      2
      AFFIRMED.
    
    